                                         Case 4:20-md-02951-HSG Document 179 Filed 04/06/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE STUBHUB REFUND LITIGATION                     Case No. 20-md-02951-HSG (TSH)
                                   8
                                                                                             ORDER RE MOTION TO SEAL
                                   9
                                                                                             Re: Dkt. No. 157
                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13          In ECF No. 157, Plaintiffs filed a motion to seal in connection with a joint discovery letter

                                  14   brief. The motion sought to seal a portion of the joint discovery letter brief and several of the

                                  15   exhibits that were submitted with it. Plaintiffs filed the motion because StubHub designated the

                                  16   information as confidential. Pursuant to Civil Local Rule 79-5(f)(3), StubHub had seven days to

                                  17   file a statement or declaration justifying the sealing request. The rule advises that “[a] failure to

                                  18   file a statement or declaration may result in the unsealing of the provisionally sealed document

                                  19   without further notice to the Designating Party.”

                                  20          StubHub did not file such a statement or declaration by the deadline. Accordingly, the

                                  21   motion to seal is denied. The Court orders Plaintiffs to file the unredacted joint discovery letter

                                  22   brief, and all the exhibits that were submitted under seal, in the public record no sooner than five

                                  23   days and no later than ten days from the date of this order.

                                  24          IT IS SO ORDERED.

                                  25

                                  26   Dated: April 6, 2023

                                  27
                                                                                                      THOMAS S. HIXSON
                                  28                                                                  United States Magistrate Judge
